Case 1:10-cr-00433-KAM           Document 136-8              Filed 06/13/18       Page 1 of 1 PageID #: 731
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    Chabad Lubavitch of Staten Island

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 June 5, 2018



 Hon. Judge
 United States District Court for the Eastern District of New York



 Dear Hon. Judge,

 My name is Rabbi Moshe Katzman and I have served as a rabbi in Staten Island for over 25 years.

 I have known Jonathan Braun for many years and have had many opportunities to counsel him since his
 release from prison.

 I believe that despite his past mistakes, Jonathan is a good person. He has married and is raising a family
 as a good parent and supportive spouse. I believe that Jonathan will be a useful and a law abiding citizen
 given the chance. Jonathan has pursued higher education, is employed and continues to seek mentoring
 and assistance to continue his rehabilitation.

 I remain available to offer Jonathan supportive and worthwhile advice and encouragement to ensure that
 he continues to grow in responsible citizenship.

 Yours truly,

 Rabbi Moshe Katzman
 Rabbi Moshe Katzman
